       Case 4:20-cv-05640-YGR        Document 1447     Filed 04/10/25   Page 1 of 7




1     DANIEL G. SWANSON, SBN 116556                  MARK A. PERRY, SBN 212532
      dswanson@gibsondunn.com                        mark.perry@weil.com
2     GIBSON, DUNN & CRUTCHER LLP                    JOSHUA M. WESNESKI (D.C. Bar No.
      333 South Grand Avenue                         1500231; pro hac vice)
3     Los Angeles, CA 90071                          joshua.wesneski@weil.com
      Telephone: 213.229.7000                        WEIL, GOTSHAL & MANGES LLP
4     Facsimile: 213.229.7520                        2001 M Street NW, Suite 600
                                                     Washington, DC 20036
5     CYNTHIA E. RICHMAN (D.C. Bar No.               Telephone: 202.682.7000
      492089; pro hac vice)                          Facsimile: 202.857.0940
6     crichman@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP                    MORGAN D. MACBRIDE, SBN 301248
7     1050 Connecticut Avenue, N.W.                  morgan.macbride@weil.com
      Washington, DC 20036                           WEIL, GOTSHAL & MANGES LLP
8     Telephone: 202.955.8500                        Redwood Shores Pkwy, 4th Floor
      Facsimile: 202.467.0539                        Redwood Shores, CA 94065
9                                                    Telephone: 650.802.3044
      JULIAN W. KLEINBRODT, SBN 302085               Facsimile: 650.802.3100
10    jkleinbrodt@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
11    One Embarcadero Center, Suite 2600
      San Francisco, CA 94111
12    Telephone: 415.393.8200
      Facsimile: 415.393.8306
13

14

15

16    Attorneys for Defendant APPLE INC.

17                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21
           Plaintiff, Counter-defendant              APPLE INC.’S ADMINISTRATIVE
22    v.                                             MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
25

26

27

28


     APPLE INC.’S MOTION TO SEAL                                 CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                         Document 1447                  Filed 04/10/25              Page 2 of 7




1                                                           TABLE OF CONTENTS

2                                                                                                                                                    Page

3    LEGAL STANDARD ............................................................................................................................1

4    DISCUSSION ........................................................................................................................................2

5    CONCLUSION ......................................................................................................................................3

6

7

8

9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     APPLE INC.’S MOTION TO SEAL                                               i                      CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                      Document 1447                Filed 04/10/25            Page 3 of 7




1                                                     TABLE OF AUTHORITIES

2                                                                                                                                       Page(s)
3    Cases
4    Al Otro Lado, Inc. v. Wolf,
5        2020 WL 5422784 (S.D. Cal. Sept. 10, 2020) .................................................................................... 2

6    In re Anthem, Inc. Data Breach Litig.,
         2018 WL 3067783 (N.D. Cal. Mar. 16, 2018) .................................................................................... 2
7
     Apple Inc. v. Rivos, Inc.,
8       2024 WL 1204115 (N.D. Cal. Mar. 21, 2024) ................................................................................ 1, 2
9    DNA Genotek Inc. v. Spectrum Sols., L.L.C.,
10     2023 WL 4335734 (S.D. Cal. May 10, 2023)..................................................................................... 2

11   Ervine v. Warden,
        214 F. Supp. 3d 917 (E.D. Cal. 2016)................................................................................................. 2
12
     Kamakana v. City and Cnty. of Honolulu,
13     447 F.3d 1172 (9th Cir. 2006) ........................................................................................................ 1, 2
14   Krommenhock v. Post Foods, LLC,
        2020 WL 2322993 (N.D. Cal. May 11, 2020) .................................................................................... 3
15

16   Lamartina v. VMware, Inc.,
        2024 WL 3049450 (N.D. Cal. June 17, 2024) .................................................................................... 2
17
     Lee v. Great Am. Life Ins. Co.,
18      2023 WL 8126850 (C.D. Cal. Nov. 13, 2023).................................................................................... 2

19   Phillips v. Gen. Motors Corp.,
        307 F.3d 1206 (9th Cir. 2002) ........................................................................................................ 1, 3
20
     PQ Labs, Inc. v. Qi,
21
        2014 WL 4617216 (N.D. Cal. Sept. 15, 2014) ................................................................................... 1
22
     Rembrandt Diagnostics, LP v. Innovacon, Inc.,
23      2018 WL 1001097 (S.D. Cal. Feb. 21, 2018) ..................................................................................... 2

24   Snapkeys, Ltd. v. Google LLC,
        2021 WL 1951250 (N.D. Cal. May 14, 2021) ................................................................................ 1, 3
25
     UnifySCC v. Cody,
26      2023 WL 7170265 (N.D. Cal. Oct. 30, 2023)..................................................................................... 3
27
     Vineyard House, LLC v. Constellation Brands U.S. Ops., Inc.,
28      619 F. Supp. 3d 970 (N.D. Cal. 2021) ................................................................................................ 2


     APPLE INC.’S MOTION TO SEAL                                          ii                    CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                          Document 1447                  Filed 04/10/25               Page 4 of 7




1    Williams v. Apple Inc.,
        2021 WL 2476916 (N.D. Cal. June 17, 2021) .................................................................................... 3
2
     Other Authorities
3
     Federal Rule of Civil Procedure 26(c) ...................................................................................................... 1
4

5    Local Rule 79-5......................................................................................................................................... 1

6

7

8

9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     APPLE INC.’S MOTION TO SEAL                                                iii                     CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR           Document 1447         Filed 04/10/25      Page 5 of 7




1            Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    respectfully moves the Court to seal portions of the privilege log entries submitted as an exhibit to

3    Apple’s Objection to certain of the Special Masters’ privilege determinations issued on April 4, 2025,

4    regarding Apple’s production of re-reviewed and privileged documents (“Objection”), which was filed

5    under section 4 of the Joint Stipulation and Order Approving Privilege Re-Review Protocol (Dkt. 1092)

6    (the “Protocol”). The exhibit contains information sealable under controlling law and Local Rule 79-5.

7    Specifically, the exhibit contains excerpts from Apple’s privilege log prepared for the Special Masters

8    conducting evaluation of the privilege claims stemming from Apple’s re-review. The privilege log is

9    required to be filed under the terms of the Protocol, but contains competitively sensitive, non-public
10   information regarding Apple’s project codenames. It also contains personally identifiable information in
11   the form of email addresses of Apple employees. Apple’s proposed redactions of that information are
12   highlighted in yellow in the un-redacted version of the exhibit that Apple is filing under seal and are
13   itemized in the concurrently filed Declaration of Mark A. Perry (the “Perry Declaration”).
14                                                LEGAL STANDARD
15          “The court may, for good cause, issue an order to protect a party or person from annoyance,
16   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of
17   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials
18   for many types of information, including, but not limited to, trade secrets or other confidential research,
19   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir.
20   2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172, 1178
21   (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing Nixon
22   v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216, at *1
23   (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the
24   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)
25   (granting request to seal “internal product codenames” and noting that a prior request for the same had
26   also been granted). Courts often find good cause exists to seal personally identifiable information. See,
27   e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion
28   to file under seal personally identifiable information, including email addresses and telephone numbers


     APPLE INC.’S MOTION TO SEAL                         1                CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR            Document 1447        Filed 04/10/25      Page 6 of 7




1    of current and former employees).

2           Although a party must show compelling circumstances to seal information appended to

3    dispositive motions, the standard for non-dispositive motions is “good cause.” In re Anthem, Inc. Data

4    Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

5    Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

6    Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

7    should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

8    Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

9    Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to
10   seal “because the request is narrowly tailored and only includes confidential information”).
11                                                    DISCUSSION
12          Apple seeks to seal personally identifiable information in the privilege log submitted as an exhibit
13   to Apple’s Objection, as well as the sensitive business information regarding project codenames. See
14   Perry Decl. ¶¶ 5, 7.
15          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns
16   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public
17   has less of a need for access to court records attached only to non-dispositive motions because those
18   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.
19   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning
20   discovery generally are considered nondispositive of the litigation”) (quotation omitted); see also In re
21   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018
22   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).
23          Apple easily meets the good cause standard here. Lamartina v. VMware, Inc., 2024 WL 3049450,
24   at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple’s limited
25   proposed redactions protect against the harmful disclosure of Apple’s internal business decision-making,
26   including non-public project codenames. See DNA Genotek Inc., 2023 WL 4335734, at *2 (finding good
27   cause where disclosure would “undercut” a party’s “position … in the marketplace”); Apple Inc., 2024
28   WL 1204115, at *1. Apple operates in an intensely competitive environment, and thus has taken


     APPLE INC.’S MOTION TO SEAL                         2                CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR             Document 1447         Filed 04/10/25       Page 7 of 7




1    extensive measures to protect the confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of

2    the sealed information relating to confidential project codenames could harm Apple’s business interests.

3    Id. ¶ 3. Furthermore, courts in this district have found not only good cause, but compelling reasons exist

4    to seal personally identifiable information. See Snapkeys, 2021 WL 1951250, at *3 (granting motion to

5    file under seal personally identifiable information, including email addresses and telephone numbers of

6    current and former employees); see also UnifySCC v. Cody, 2023 WL 7170265, at *1 (N.D. Cal. Oct.

7    30, 2023) (finding compelling reasons to seal personally identifying information of employees, including

8    names, addresses, phone numbers, and email addresses). Here, certain entries in the privilege log reveal

9    Apple’s project codenames and others reveal personally identifiable information. Good cause exists to
10   protect both types of information.
11          Moreover, Apple has narrowly tailored its sealing request to include only the information
12   necessary to protect its confidential business information and personally identifiable information. See
13   Perry Decl. ¶ 6; Krommenhock v. Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020)
14   (granting motion to seal “limited” information); see also Phillips, 307 F.3d at 1211; Williams v. Apple
15   Inc., 2021 WL 2476916, at *2–*3 (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests
16   with “tailored redactions”); Dkt. No. 643 at 3 (finding Apple’s proposed redactions appropriate for an
17   exhibit when redactions were “narrowly tailored” to “sensitive and confidential information”). Apple
18   has only partially redacted limited information within the privilege log entries. See Perry Decl. ¶¶ 6-7.
19          For the foregoing reasons, there is good cause that warrants partially sealing the exhibit to
20   Apple’s Objection.
21                                                   CONCLUSION
22          Apple respectfully requests that the Court seal the information identified in the accompanying
23   declaration.
24   Dated: April 10, 2025                                   Respectfully submitted,
25                                                           By: /s/ Mark A. Perry
                                                                     Mark A. Perry
26

27                                                           WEIL, GOTSHAL & MANGES LLP

28                                                           Attorney for Apple Inc.

     APPLE INC.’S MOTION TO SEAL                         3                 CASE NO. 4:20-CV-05640-YGR-TSH
